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IN THE UNITED STATE DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PHILLIP PESANO, 2:21-CV-01580-RIC
Plaintiff

VS.

UBER TECHNOLOGIES, INC. and

ANDREW FARKOSH,
Defendants.
ORDER
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AND NOW, to wit, this 5 ©? ‘day of A@iCri76€i~, 2021, it is hereby

ORDERED and DECREED that Plaintiff’s Motion to Remand from the United States District
Court of the Western District of Pennsylvania to the Court of Common Pleas of Allegheny County,

Pennsylvania at G.D. 21-013488 is GRANTED as there is no diversity jurisdiction. This case is

being remanded pursuant to 28 U.S.C.A. § 1447, tov tA WwitTh

BY THE COURT:

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